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            EXHIBIT G
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                                                                                        Page 204
                         UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA
                           SAN FRANCISCO DIVISION
        _______________________________________
        RICHARD KADREY, ET AL.,                                         )
                       INDIVIDUAL AND REPRESENTATIVE                    )
                                                   PLAINTIFFS, ) LEAD CASE NO.
                               v.                                       ) 3:23-cv-03417-VC
        META PLATFORMS, INC.,                                           )
                                                     DEFENDANT. )
        _______________________________________)


             * * *    H I G H L Y        C O N F I D E N T I A L                   * * *
        * * *        A T T O R N E Y S '             E Y E S        O N L Y        * * *


                     VIDEO-RECORDED 30(B)(6) DEPOSITION OF
                                    MICHAEL CLARK
                                      VOLUME III
                         WEDNESDAY, NOVEMBER 20, 2024
                           SAN FRANCISCO, CALIFORNIA
                                    9:38 A.M. PST


                REPORTED BY AUDRA E. CRAMER, CSR NO. 9901
        ______________________________________________________
                               DIGITAL EVIDENCE GROUP
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                               Washington, D.C. 20036
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                                                                                        Page 312
   1     Hugo Touvron; Soumya, S-o-u-m-y-a, Batra; Todor,

   2     T-o-d-o-r, M-i-h-a-y-l-o-v; Sharan Narang,

   3     S-h-a-r-a-n, N-a-r-a-n-g; and Thomas Scialom,

   4     T-h-o-m-a-s, S-c-i-a-l-o-m.

   5           Q.      Okay.       We're going to get into the

   6     contents of this document.

   7                   Did you review this document in

   8     preparation?          Are you familiar with it?

   9                   MS. HARTNETT:              Object to the form.

 10                    THE WITNESS:             Let me read it real quick

 11      just to see if I did.

 12                    Okay.

 13      BY MS. POUEYMIROU:

 14            Q.      Okay.

 15            A.      I don't remember -- to answer your

 16      question, I don't remember seeing this in my

 17      preparation.

 18            Q.      Okay.       And before this you were talking

 19      about a script that Bashlykov made to remove

 20      copyright information from LibGen; correct?

 21                    MS. HARTNETT:              Object to the form.

 22                    THE WITNESS:             To be specific, the data



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                                                                                        Page 313
   1     that Bashlykov was applying the script was to

   2     actual data and not to metadata, which was

   3     separate.

   4     BY MS. POUEYMIROU:

   5           Q.      Okay.

   6           A.      It was inside of the training data or

   7     proposed training data itself.

   8           Q.      And was it inside the data because it

   9     was -- because copyright information is inside a

 10      book?

 11                    MS. HARTNETT:              Objection to the form of

 12      the question.

 13                    THE WITNESS:             The data that was removed

 14      included the word "copyright," the word

 15      "acknowledgments," and matches upon phrases and

 16      lines in certain parts of the book that did

 17      that.      It was removed because of the technical

 18      risk that was introduced to the model by keeping

 19      that data in.

 20      BY MS. POUEYMIROU:

 21            Q.      So the removal of that copyright

 22      information facilitated training of the model?



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                                                                                        Page 314
   1                   MS. HARTNETT:              Objection to the form.

   2                   THE WITNESS:             The removal of that data

   3     kept there from being additional noise

   4     introduced from repetitive phrases and from

   5     things that would introduce other noise or

   6     problems into the model itself.

   7     BY MS. POUEYMIROU:

   8           Q.      And would you say that removal of that

   9     facilitates training?

 10            A.      Removal of that data is one step in the

 11      data cleanup phase, which is one of many pieces

 12      to facilitate training.

 13            Q.      Okay.       So in the opening of this

 14      document, you have Sergey Edunov and Melanie

 15      Kambadur noted.

 16                    And what I was hoping you could explain

 17      is what is meant by this specific language:                                    "We

 18      need to make sure source metadata does not cause

 19      problems in training, stability, performance or

 20      leakage of sensitive info.                      We have experimental

 21      data now showing basically no negative effects

 22      for the v1 unhashed source metadata, but since



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                                                                                        Page 315
   1     this is small-scale, noisy evals, it's

   2     unfortunately not 100 percent conclusive.

   3     Intuitively, adding 5 to 10 percent to token

   4     size could be a risk."

   5                   And this is the sentence in particular

   6     I'm interested in:               "Also, unhashed source

   7     metadata is not acceptable from an IP-brand

   8     safety leakage perspective IMO.                          We have to be

   9     basically 100 percent confident no one can

 10      extract this data, and based on previous

 11      memorization work, I do not think we can be."

 12                    So can you walk me through what they're

 13      talking about.

 14                    MS. HARTNETT:              Object to the form.

 15                    THE WITNESS:             I was trying to find the

 16      exact line.

 17                    Was that the part from Melanie, or was

 18      that the --

 19      BY MS. POUEYMIROU:

 20            Q.      It looks like -- I mean, it's

 21      "Melanie:" and then @sergeyedunov?

 22                    MS. HARTNETT:              I think she's reading on



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                                                                                        Page 344
   1                               (At 1:39 P.M. PST the

   2                      deposition of MICHAEL CLARK was

   3                      reconvened.)

   4                   THE VIDEOGRAPHER:                 We are now on the

   5     record at 1:39.

   6

   7                           EXAMINATION (CONTINUED)

   8     BY MS. POUEYMIROU:

   9           Q.      Good afternoon, Mr. Clark.

 10            A.      Good afternoon.

 11            Q.      So I wanted to talk about a different

 12      dataset now.

 13            A.      Okay.

 14            Q.      I mean, we have been talking about it,

 15      but LibGen.

 16                    And so last week we looked at a

 17      document that showed it being downloaded October

 18      of 2022.

 19                    And your testimony today is you don't

 20      know who did that download -- the initial

 21      download of LibGen; is that correct?

 22            A.      Just to --



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                                                                                        Page 349
   1           Q.      This says, "Decided to go with direct

   2     file upload without using torrents for the

   3     following reasons:               Using torrents would entail

   4     seeding the files, sharing the content outside.

   5     This could be legally not okay."

   6                   So how did Meta obtain and copy LibGen?

   7                   MS. HARTNETT:              Object to the form.

   8                   THE WITNESS:             So I spoke with

   9     Bashlykov.            We used libtorrent and the torrent

 10      protocol for downloading.                     We had tried to

 11      download a few different ways.                         One of them

 12      included doing it via direct downloads where

 13      there were individually hosted files in

 14      different places and saw many issues with that

 15      where files wouldn't exist, it was too slow or

 16      would error out.

 17                    Also tried -- well, actually, the other

 18      only other option was downloading via torrent,

 19      and --

 20      BY MS. POUEYMIROU:

 21            Q.      And that's what you did?

 22            A.      That's what we did.                   And the library



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                                                                                        Page 350
   1     that we used using, LibGen -- sorry --

   2     libtorrent for downloading LibGen, Bashlykov

   3     modified the config setting so that the smallest

   4     amount of seeding possible could occur.

   5           Q.      What does that mean?

   6           A.      When you use a torrent protocol, part

   7     of the configuration on how torrents work is you

   8     can only download as long as you offer to

   9     participate in the torrent network in some way,

 10      and seeding means that you have to open up some

 11      amount of sharing of the torrent file while

 12      you're downloading.

 13            Q.      So why did Meta decide to minimize

 14      seeding the files?

 15                    Is it because it was concerned that

 16      that was legally not okay, to quote this

 17      document?

 18                    MS. HARTNETT:              Objection to the form.

 19                    And to the extent it calls for any

 20      attorney-client privilege, please don't reveal

 21      that.

 22                    THE WITNESS:             Yeah, I do not know what



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